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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

        In Re: Shale Oil Antitrust Litigation              Case No. 1:24-md-03119-MLG-LF

        This Document Relates to:                          Judge Matthew L. Garcia

        ALL ACTIONS




                                      JOINT STATUS REPORT

   Pursuant to the Court’s December 20, 2024, Initial Scheduling Order (ECF No. 82), Plaintiffs

and Defendants (together, the “Parties”) submit this joint status report.

   I.       Summary of Progress on Case

            a. The Pleadings

   On January 10, 2025, Plaintiffs filed their Consolidated Class Action Complaint (ECF No. 86).

On February 24, 2025, Defendants filed: one joint motion to dismiss under Fed. R. Civ. P. 12(b)(1)

and 12(b)(6) (ECF No. 129), eight individual motions to dismiss under Fed. R. Civ. P. 12(b)(2)

and 12(b)(6) (ECF Nos. 123–27, 130–32), and one Request for Judicial Notice (ECF No. 128).

Pursuant to the Initial Scheduling Order (ECF No. 82), Plaintiffs filed their oppositions to

Defendants’ motions to dismiss and request for judicial notice on April 10, 2025. Defendants’

reply briefs are due May 12, 2025. A hearing on the nine motions to dismiss is scheduled for May

20, 2025 (ECF No. 171).

   On April 8, 2025, the Kansas Attorney General filed a Motion to Intervene (“Motion”) (ECF

No. 153). Pursuant to Stipulation, Plaintiffs responded to the Motion on May 6, 2025. The State

of Kansas will reply on June 3, 2025. No hearing has been scheduled for the Motion.


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             b. Discovery

   On January 24, 2025, the Parties exchanged their Initial Disclosures. Between February 20

and 27, 2025, the Parties exchanged: document retention and electronic device usage policies; draft

discovery-related protocols including stipulated Electronically Stored Information (“ESI”),

deposition, and expert discovery protocols; and a draft protective order. The parties have reached

agreement and filed the Deposition and Expert Discovery Protocols (ECF Nos. 169 and 170) on

April 21, 2025. The parties are continuing to negotiate the ESI Protocol and Protective Order.

   II.       Outstanding Disputes

   There are no outstanding issues on which the Parties are at impasse.

   III.      Settlement Discussions

          The Parties will advise the Court if assistance is needed in relation to any settlement

discussions.

   IV.       Motions and Other Matters the Parties Anticipate Addressing at Conference

   1.        The initial scheduling order filed on December 20, 2024 (ECF No. 82), does not

             provide a deadline to submit any disputes regarding the ESI Protocol or Protective

             Order. As noted above, the Parties continue to negotiate to narrow disputes related to

             the ESI Protocol and Protective Order and jointly propose the Court set a deadline of

             July 10, 2025 to submit a stipulated ESI Protocol and Protective Order, or partially-

             stipulated drafts of the same along with letter briefs outlining any remaining disputes.

             This proposed deadline is 60 days after Defendants’ Reply briefs on their Motions to

             Dismiss are due.

   2.        An additional lawsuit with similar factual allegations was recently filed on April 24,

             2025 in the Northern District of Illinois (Eastern Division) in a case styled as 3Red




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        Partners LLC, on behalf of itself and all others similarly situated, vs. Permian

        Resources Corporation f/k/a Centennial Resource Development, Inc., Expand Energy

        Corporation f/k/a Chesapeake Energy Corporation, Continental Resources Inc.,

        Diamondback Energy, Inc., EOG Resources, Inc., Hess Corporation, Occidental

        Petroleum Corporation, Pioneer Natural Resources Company, Scott D. Sheffield, John

        B. Hess, and John Does 1-60 (Civil Action No. 1:25-cv-04469) (the “3Red Lawsuit”).

        The 3Red Lawsuit was voluntarily dismissed on May 9, 2025 (ECF No. 22). The 3Red

        lawsuit was re-filed directly in the District of New Mexico on May 12, 2025. 3Red

        Partners LLC v. Permian Resources Corporation, et al. (Civil Action No. 1:25-cv-

        00447). Defendants note these developments in case they impact the timing of the

        Court’s consideration of the pending motions to dismiss.            Plaintiffs view this

        derivatives case, filed some 18 months after the initial complaint as different

        (presumably defendants do as well as they did not promptly tag it into the MDL as

        required by JPML Rule 7.1(a)). Plaintiffs do not think it should affect the timing of the

        pending motions to dismiss. The parties will be ready to discuss the impact of this case

        at the hearing on May 20, 2025.

  3.    Defendants respectfully propose that the Court begin argument at the May 20 hearing

        with their joint motion to dismiss. After the Court’s questions concerning that motion

        have been addressed, defendants respectively propose that the Court turn to the

        individual defendants’ motions to dismiss and allow up to 10 minutes of argument per

        side for each of those motions. Plaintiffs do not join in Defendants’ proposal.



JOINTLY SUBMITTED:




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Dated: May 13, 2025
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